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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,
                                                         Case No. 1:25-cv-00716 (BAH)
                        Plaintiff,
                                                         Judge Beryl A. Howell
 v.
                                                         EXPEDITED CONSIDERATION
 U.S. DEPARTMENT OF JUSTICE, et al.,
                                                         REQUESTED
                        Defendants.


             MOTION TO CLARIFY TEMPORARY RESTRAINING ORDER

       Plaintiff Perkins Coie LLP, by undersigned counsel, moves the Court for an order

clarifying this Court’s March 12, 2025 Temporary Restraining Order, ECF No. 21 (“Order”), and

granting such other relief as necessary, to ensure that all agencies subject to Executive Order 14230

are promptly directed to rescind all pending requests for disclosure of a relationship with Perkins

Coie LLP. In support of this motion, plaintiff respectfully states as follows:

       1.      On March 12, 2025, this Court held a hearing on plaintiff’s Motion for a Temporary

Restraining Order, ECF No. 2. See Mar. 12, 2025 Hearing Transcript (“Tr.”).

       2.      At the hearing, plaintiff’s counsel stated that some federal agencies, acting pursuant

to Executive Order 14230, had already “reached out to contractors to require them to report by

March 20th” whether they have a relationship with Perkins Coie. Id. 105:2-4. Plaintiff’s counsel

requested that all such requests be rescinded, stating, “We just want to make sure that the order

goes to all of the agencies, and any actions that have been taken pursuant to those sections of the

executive order – they’re told to rescind them.” Id. 105:4-7.

       3.      Counsel for the government initially took issue with notifying agencies that had not

been specifically named as defendants, but after the Court responded that “one of the defendants
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is the United States [of] America,” id. 106:15–107:8, counsel stated that “we have no objection”

to language requiring defendants “to immediately instruct all agencies of the federal government

to immediately communicate to every recipient of a request for such disclosure [of a relationship

with Perkins Coie LLP that] the request is immediately rescinded until further order of the Court,”

id. 109:4-10.

       4.       Later that day, the Court granted plaintiff’s Motion for a Temporary Restraining

Order and issued the Order. ECF No. 21. As relevant to this Motion:

                a.     The Order directed all defendants, including defendant the United States of

       America, “immediately to (1) communicate to every recipient of a request for disclosure

       of any relationship with Perkins Coie LLP or any person associated with the firm, made

       pursuant to Section 3(a) of Executive Order 14230, that such request is rescinded until

       further order of the Court; and (2) cease making such requests for disclosure, pursuant to

       Section 3(a) of Executive Order 14230, until further order of the Court.” Id. at 2 (second

       paragraph).

                b.     The Order also ordered that “defendants must, in good faith, take such other

       steps as are necessary to prevent the implementation or enforcement of Sections 1, 3, and

       5 of Executive Order 14230 during the effective period of this Order.”            Id. (third

       paragraph).

                c.     The Order also ordered that “defendants U.S. Department of Justice; Pamela

       Bondi, in her official capacity as U.S. Attorney General; the Office of Management and

       Budget; and Russell Vought, in his official capacity as Director of the Office of

       Management and Budget, must additionally immediately issue guidance to all other




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       agencies subject to Executive Order 14230 to suspend and rescind any implementation or

       enforcement of Sections 1, 3, and 5 of the Executive Order.” Id. (fourth paragraph).

               d.      The Order also ordered that “defendants shall file a status report by Friday,

       March 14, 2025, describing the steps taken to ensure compliance with this Order and

       certifying compliance with its requirements.” Id. at 3 (first paragraph).

       5.      On Friday, March 14, 2025, defendants filed a status report describing the steps

taken to ensure compliance with the Order. ECF No. 27. It was unclear from the status report

whether notification and guidance had been provided to “all other agencies” subject to Executive

Order 14230, and what the content of that guidance was. Id. at 2, ¶ 3.

       6.      On Monday, March 17, 2025, defendants contacted the government to request

clarification of whether notification and guidance had been provided to “all other agencies” subject

to Executive Order 14230, and what the content of that guidance was.

       7.      Earlier today, Tuesday, March 18, 2025, undersigned counsel communicated with

counsel for defendants, Mr. Lawson. During an initial call, Mr. Lawson stated that the Office of

Management and Budget sent guidance to the other agencies subject to Executive Order 14230 at

approximately 11:18 AM today that tracked the language in the fourth paragraph on page 2 of the

Order, but that the guidance did not specifically instruct those agencies to comply with the

direction in the second paragraph on page 2 of the Order relating to the rescission of disclosure

requests, ECF No. 21 at 2 (second paragraph). Mr. Lawson indicated that this instruction was not

included because the government had interpreted the second paragraph to apply only to agencies

named as defendants, and not to all agencies subject to Executive Order 14230. Mr. Lawson

indicated that, if so directed, he could issue such an instruction to the other agencies subject to

Executive Order 14230 using the Office of Management and Budget’s email distribution list.



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       8.      After undersigned counsel requested that such an instruction be provided to the

other agencies, Mr. Lawson called back to inform undersigned counsel that the government would

not issue such an instruction to the other agencies subject to Executive Order 14230 absent a further

order of the Court.

       9.      To effectuate the purposes of the Order, plaintiff respectfully requests that this

Court issue a further order clarifying that the second paragraph of page 2 of the Order applies to

all agencies subject to Executive Order 14230, and ordering counsel for defendants to immediately

instruct all such agencies to “(1) communicate to every recipient of a request for disclosure of any

relationship with Perkins Coie LLP or any person associated with the firm, made pursuant to

Section 3(a) of Executive Order 14230, that such request is rescinded until further order of the

Court; and (2) cease making such requests for disclosure, pursuant to Section 3(a) of Executive

Order 14230, until further order of the Court.” Id.

       10.     Plaintiff respectfully requests expedited consideration of this Motion as some

agencies have requested that contractors respond to disclosure requests as soon as Thursday,

March 20, 2025. See Tr. 105:2-4.

       11.     At 1:56 PM today, undersigned counsel conferred by telephone with counsel for

defendants, Mr. Lawson, to determine whether the government would consent to the relief

requested in this Motion. Mr. Lawson stated that he would confer with his colleagues, but that

given the time-sensitive nature of this request, plaintiff could proceed to file this Motion without

awaiting a response and note that consent had been requested, but that the government has not

responded as of the time of filing. The government has not responded further as of the time of

filing of this Motion.




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      WHEREFORE, plaintiff respectfully requests that the Court enter an Order

      a. clarifying that the second paragraph of page 2 of the Court’s Order of March 12, 2025

          applies to all agencies of defendant the United States of America that are subject to

          Executive Order 14230, not simply those agencies that are specifically named as

          defendants;

      b. directing counsel for defendants to immediately notify all agencies subject to Executive

          Order 14230 that such agencies are directed to (1) communicate to every recipient of a

          request for disclosure of any relationship with Perkins Coie LLP or any person

          associated with the firm, made pursuant to Section 3(a) of Executive Order 14230, that

          such request is rescinded until further order of the Court; and (2) cease making such

          requests for disclosure, pursuant to Section 3(a) of Executive Order 14230, until further

          order of the Court; and

      c. directing counsel for defendants to file a status report by 4:00 PM on Wednesday,

          March 19, 2025, describing the steps taken to ensure compliance with the requested

          order and certifying compliance with its requirements.

      A proposed order is attached hereto.

Dated: March 18, 2025                        Respectfully submitted,

                                             WILLIAMS & CONNOLLY LLP

                                       By: /s/ Christopher N. Manning
                                           Christopher N. Manning (D.C. Bar #464069)
                                           680 Maine Avenue, SW
                                           Washington, DC 20024
                                           (202) 434-5000

                                             Counsel for Plaintiff Perkins Coie LLP




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